Case 17-15030 Doc 83-1 Filed 04/24/23 Entered 04/24/23 14:43:46 Desc Proposed
Order Pagelof1

UNITED STATES BANKRUPTCY COURT
Northern District of Illinois
Eastern Division

In Re: Bankruptcy Case No. 17-15030

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)
Ira Greenberg & Lorraine R. Greenberg ) Chapter: 7
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Debtor(s)

ORDER GRANTING APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

On , an application was filed for the Claimant(s),

Dilks & Knopik, LLC as assignee to Johnson Bank, for payment of unclaimed funds deposited with the

court, pursuant to 11 U.S.C. § 347(a). The application and supporting documentation establish that the
Claimant(s) is/are entitled to the unclaimed funds; accordingly, it is hereby
ORDERED that, pursuant to 28 U.S.C. § 2042, the sum of $18,807.88 held in unclaimed funds be

made payable to Dilks & Knopik, LLC and be disbursed to the payee at the following address:

35308 SE Center Street, Snoqualmie, WA 98065.

Enter:

Dated: United States Bankruptcy Judge

